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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

KARLA GERRARD,

              Plaintiff,                           Case No. __________________
vs.
                                                   L.C. Case No. 2022-193533-NO
WAL-MART STORES EAST, LP,

              Defendant.

BRIAN L. FANTICH (P60935)                     NICOLE M. WRIGHT (P63513)
CARRA J. STOLLER (P64540)                     BRIAN D. KING (P78738)
ADAM J. GANTZ (P58558)                        ZAUSMER, P.C.
LAW OFFICE OF KELMAN & FANTICH                Attorneys for Defendant
Attorneys for Plaintiff                       32255 Northwestern Highway, Suite 225
30903 Northwestern Highway # 270              Farmington Hills, MI 48334
Farmington Hills, MI 48334                    (248) 851-4111/ Fax: (248) 851-0100
(248) 855-0100 Fax: (248) 855-3557            nwright@zausmer.com
kelmanandassociates@yahoo.com                 bking@zausmer.com


                        DEFENDANT WAL-MART
                 STORES EAST, LP’S NOTICE OF REMOVAL

        NOW     COMES,     Defendant,    WAL-MART         STORES       EAST,     LP

(“Defendant”), by and through its attorneys, ZAUSMER, P.C., and hereby

removes this case from Oakland County Circuit Court, pursuant to 28 U.S.C. §§

1441(a) and 1446(a), for the reason that diversity of citizenship exists between the

Plaintiff, KARLA GERRARD (“Plaintiff”), a citizen and resident of the City of

Walled Lake, County of Oakland and in the State of Michigan, and Defendant,
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WAL-MART STORES EAST, LP, organized under the laws of the State of

Delaware with its principal place of business in Bentonville, Arkansas.         (See

Paragraph One of Plaintiff’s Complaint, attached as Exhibit “A”.) Defendant has

properly served its Notice of Removal on Plaintiff. In support of its removal of this

action, the Defendant states the following:

        1.   This action is pending in the Oakland County Circuit Court in the

State of Michigan. The Complaint was filed with the Circuit Court on or around

April 8, 2022. (See Plaintiff’s Complaint, attached as Exhibit "A".)

        2.   Defendant, WAL-MART STORES EAST, LP, was served with

Plaintiff’s Summons and Complaint by Process Server on April 19, 2022. (See

Service of Process Transmittal Form, attached as Exhibit "B".)

        3.   This Notice of Removal is filed within thirty (30) days after the

Defendant was served with the Summons and Complaint, in compliance with 28

U.S.C. § 1446(b). Pursuant to 28 U.S.C. § 1446(a), a copy of the Complaint is

attached as Exhibit "A".

        4.   This Court has jurisdiction over this action, pursuant to 28 U.S.C.

§1332. Jurisdiction exists because the parties are respectively citizens of different

states and the amount in controversy alleged in the Complaint, exclusive of costs,

allegedly exceeds Seventy-Five Thousand and 00/100 ($75,000.00) Dollars.
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        A.   Based on the allegations in the Complaint, Plaintiff is a citizen of the
             County of Oakland, State of Michigan. (See Plaintiff's Complaint at
             Paragraph One, attached as Exhibit "A".)

        B.   Defendant, WAL-MART STORES EAST, LP, is a Limited
             Partnership organized under the laws of the State of Delaware, with its
             principal place of business in Bentonville, Arkansas. WAL-MART
             STORES EAST, LP is not a citizen of the State of Michigan.

        C.   Defendant, WAL-MART STORES EAST, LP’S limited and general
             partners are not citizens of the State of Michigan:

                   General Partner
                    WSE Management, LLC
                    702 S.W. 8th Street
                    Bentonville, Arkansas 72716-0555
                    WSE Management, LLC is a Delaware Limited Liability
                    Company with a principal place of business in Bentonville,
                    Arkansas.

                   Limited Partner
                    WSE Investment, LLC
                    702 S.W. 8th Street
                    Bentonville, Arkansas 72716-0555
                    WSE Investment, LLC is a Delaware Limited Liability
                    Company with a principal place of business in Bentonville,
                    Arkansas.

        D.   The sole member of WSE Management, LLC and WSE Investment,
             LLC is Wal-Mart Stores East, LLC (formerly known as Wal-Mart
             Stores East, Inc.), an Arkansas Limited Liability Company. The
             principal place of business for the aforementioned entities is
             Bentonville, Arkansas. Walmart Inc. is the sole member of Wal-Mart
             Stores East, LLC, and is a corporation organized under the laws of the
             State of Delaware, whose principal place of business is in the State of
             Arkansas.

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        E.   Further, according to the allegations in Plaintiff’s Complaint, the
             amount in controversy, exclusive of interest and costs, is in excess of
             Seventy-Five Thousand and 00/100 ($75,000.00) Dollars.
             Specifically, Plaintiff alleges, inter alia, in her Complaint, that she
             sustained serious and disabling injuries, including, but not limited to:

                    i.     Injuries to right ankle;

                    ii.    Injuries to left shoulder;

                    iii.   Injuries to hand;

                    iv.    Injuries to head, neck, back and spine;

                    v.     Severe injuries to upper and lower extremities;

                    vi.    Altered gait;

                    vii.   Permanent limp;

                    viii. Inability to ambulate;

                    ix.    Permanent scarring;

                    x.     Diminished extension, flexion, and range of motion;

                    xi.    Decrease in gross and fine motor skills;

                    xii.   Severe shock;

                    xiii. Physical pain and suffering (past and future);

                    xiv.   Disability and disfigurement;

                    xv.    Mental anguish (past and future);

                    xvi.   Fright and shock;
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                   xvii. Denial of social pleasures and enjoyments;

                   xviii. Embarrassment, humiliation and mortification;

                   xix.   Medical expenses (past and future); and

                   xx.    Loss of earnings and earning capacity.

(See Plaintiff’s Complaint at Paragraph 16, including subparagraphs (a.) through
(f.), attached as Exhibit "A".)

        F.   Additionally, Defendant has requested that Plaintiff cap her alleged
             damages claim at Seventy-Five Thousand and 00/100 ($75,000.00)
             Dollars or less. (See Correspondence to Plaintiff’s Attorney, dated
             April 26, 2022, attached as Exhibit "C".) However, to date, Plaintiff
             has declined to cap her alleged damages claim because she believes, at
             this juncture, her alleged damages are in excess of Seventy-Five
             Thousand and 00/100 ($75,000.00) Dollars.

        5.   For purposes of diversity of jurisdiction, a corporation is a citizen of

“any State by which it has been incorporated and of the State where it has its

principal place of business …” Delphi Automotive Systems, LLC v. Segway Inc.,

519 F.Supp.2d 662, 665 (E.D. Mich. 2007).

        6.   In view of the above, there is complete diversity of citizenship

between the parties.

        7.   Accordingly, based on the information known to date, this action may

be removed from State Court to Federal Court, pursuant to 27 U.S.C. §§ 1332 and

1446(b). Defendant will file a copy of this Notice of Removal with the Clerk of
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the Oakland County Circuit Court in the State of Michigan. Further, Defendant

will serve copies of this Notice on Counsel of record for Plaintiff.


                                 Respectfully Submitted,

                                 ZAUSMER, P.C.

                                  /s/ Nicole M. Wright
                                 NICOLE M. WRIGHT (P63513)
                                 Attorney for Defendant
                                 32255 Northwestern Highway, Suite 225
                                 Farmington Hills, MI 48334
                                 (248) 851-4111
Dated: May 17, 2022              nwright@zausmer.com



                          CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2022, I electronically filed the foregoing
paper with the Clerk of the Court, using the ECF system and copies of such
documents were served upon the following individuals by U.S. Mail:

        Brian L. Fantich, Esq.
        Law Offices of Kelman & Fantich
        30903 Northwestern Highway, Suite 270
        Farmington Hills, MI 48334

                                 /s/ Nicole M. Wright
                                 Zausmer, P.C.
                                 32255 Northwestern Highway, Suite 225
                                 Farmington Hills, MI 48334-2374
                                 (248) 851-4111
                                 nwright@zausmer.com

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